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                          Exhibit 4
              7/9/2019 Communal Prayer Policy
                      for ADX Inmates

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